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Attorneys for Alaska Federation of Natives

                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,

                           Plaintiff,

 KUSKOKWIM RIVER INTER-TRIBAL                                   Case No. 1:22-CV-00054-SLG
 FISH COMMISSION, et al.,

                           Intervenor Plaintiffs,

 v.

 STATE OF ALASKA, et al.,

                           Defendants.


                               DECLARATION OF JULIE KITKA

I, Julie Kitka, declare as follows:

        1.       I submit this declaration in support of the Alaska Federation of Natives’

(AFN) Motion to Intervene in the above-captioned matter. I have personal knowledge of

the matters set forth below.

 DECLARATION OF JULIE KITKA
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CERTIFICATE OF SERVICE

I certify that on September 26, 2023, a copy
of the foregoing document was served via ECF
on all counsel of record.


/s/ Jahna M. Lindemuth




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